Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 1 of 36




                        EXHIBIT B
                              Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 2 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                Claim language                                     Information Relating to the Tablo Dual 64 GB OTA DVR
 1. A digital video recorder (DVR) for      Tablo Dual 64 GB OTA DVR: “A network-connected DVR, Tablo is a whole-home-DVR and placeshifter
 recording a plurality of television        combined that uses WiFi or Ethernet to stream live and recorded HDTV content to Tablo apps on all
 broadcast programs, comprising:            the connected devices inside your home or anywhere you have high-speed internet.”
                                            https://www.tablotv.com/products/tablo-dual-ota-dvr/.

                                            “Concurrent Streams: Watch and record up to two shows simultaneously.”
                                            https://www.tablotv.com/products/tablo-dual-ota-dvr/.

 a mass data storage unit that              Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR includes a mass data storage unit that
 concurrently and continuously receives     concurrently and continuously receives and digitally stores a plurality of television broadcast
 and digitally stores a plurality of        programs.
 television broadcast programs together
 with time information to allow said        The Tablo Dual 64 GB OTA DVR includes “64GB of onboard storage gives cord cutters 40 hours of HD
 plurality of stored television broadcast   recording storage, right out of the box.” https://www.tablotv.com/products/tablo-dual-ota-dvr/.
 programs to be synchronized with
 respect to one another; and                The Tablo receives digital OTA television signals:




                                            https://www.tablotv.com/products/tablo-dual-ota-dvr/.

                                            “Most of your favorite network TV shows and prime time sports are broadcast live for FREE to
                                            anyone who can receive a signal through a digital TV antenna. Want to know which TV shows are
                                            broadcast Over-The-Air (OTA) during prime time in your area? Let’s find out!”



                                                                        1
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 3 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          https://www.tablotv.com/tools/

                                          The Tablo Dual 64 GB OTA DVR digitally stores recorded programs: “Video Format: H.264 (HLS: HTTP
                                          Live Streaming).” https://www.tablotv.com/tools/; see also https://support.tablotv.com/hc/en-
                                          us/articles/201445386-What-compression-audio-video-codes-does-Tablo-use- (Tablo Support: “We
                                          transcode ATSC MPEG 2 to H.264. The Tablo currently transcodes the AC3 to two channel AAC.”).

                                          The Tablo Dual 64 GB OTA DVR also concurrently and continuously receives and digitally stores a
                                          plurality of television broadcast programs: “Concurrent Streams: Watch and record up to two shows
                                          simultaneously.”

                                          https://www.tablotv.com/products/tablo-dual-ota-dvr/

                                          The Tablo Dual 64 GB OTA DVR also receives and digitally stores time information relating to
                                          television broadcast programs. This is evidenced by, for example, the fact that the Tablo system
                                          displays a program guide containing information regarding the start and end times of programs.




                                                                     2
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 4 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          https://www.tablotv.com/tv-guide-data-subscriptions/

                                          This is also evidenced, for example, by the Tablo system’s ability to display an on-screen timer for a
                                          program stored or being stored on the Tablo Dual 64 GB OTA DVR that illustrates (among other
                                          things) the user’s current point in a program: “Scroll to any point in the recording – The scrubber bar
                                          lets you zoom through commercials or to a specific point in the show.”
                                          https://www.tablotv.com/blog/tablo-web-app-overview/.

                                          The digital storage of television broadcast programs and time information by the Tablo Dual 64 GB
                                          OTA DVR allows the stored television broadcast programs to be synchronized with respect to one
                                          another.




                                                                      3
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 5 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          When a user tunes to a particular television channel, the Tablo Dual 64 GB OTA DVR begins a live TV
                                          buffer. In responding to a question on Amazon.com included in the listing for the Tablo Dual 64 GB
                                          OTA DVR, TabloTV stated on December 22, 2014, “We do record the live TV channel you’re currently
                                          watching in the background so that we can enable the pause and rewind functions for live TV.”

                                          The live TV buffer digitally stores up to 60 minutes of content in a first-in/first-out manner. For
                                          example, Tablo TV, responding to a thread in the Tablo support forum, stated that “Tablo only keeps
                                          a 1 hour moving window of ‘buffer’ on the hard drive which is discarded when the stream stops so it
                                          won’t fill up your hard drive.” https://community.tablotv.com/t/limiting-live-tv-recording/6240/17.

                                          The buffer continues so long as the tuner is tuned to that particular channel, even if the user stops
                                          viewing that channel. For example, Tablo’s website states, “For playback of live TV, Tablo has a
                                          feature that continues recording on the channel for an hour after the user has stopped watching the
                                          channel. This is so the user can re-join the channel and watch live TV without waiting 12 seconds for
                                          playback to start.” https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-
                                          Tablo-App-s-. A Tablo user described such functionality in the Tablo support forum: “I just tuned in a
                                          Live TV channel, and watch (sic) for a minute. Then exited viewing that channel, which brought me to
                                          the guide display. Waited 14 minutes. Went back to the original Live TV channel, and had 14 minutes
                                          I could view.” https://community.tablotv.com/t/limiting-live-tv-recording/6240/17.

                                          The Tablo Dual 64 GB OTA DVR permits a user to pause live TV, as well as to rewind and fast-forward
                                          through stored programs. For example, in response to a question posted in the Tablo Support forum
                                          asking whether Tablo enables the user to pause live TV, Tablo Support stated, “Yes, you can pause
                                          live and recorded TV with Tablo. You can also rewind and (if you’re rewound) fast forward through
                                          live TV.” https://support.tablotv.com/hc/en-us/articles/201445306-Does-Tablo-enable-you-to-
                                          pause-live-TV-

                                          The Tablo Dual 64 GB OTA DVR’s dual tuners permit a user to tune into two concurrently stored
                                          television programs. https://www.tablotv.com/blog/tablo-tuner-math/. This allows a user to watch
                                          two concurrently stored programs (or stored portions of ongoing programs) by changing between
                                          active streams.

                                          Users of the Tablo Dual 64 GB OTA DVR describe swapping back and forth between stored programs,
                                          including programs stored in the live TV buffer. For example, one Tablo user describes “Playing Live



                                                                     4
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 6 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          TV on my phone or tablet works as expected. I can pause jump back in (sic) forth within the buffer,
                                          change channels, then move within the buffer after changing the channel.”
                                          https://community.tablotv.com/t/android-app-and-casting-from-android-app/2383/8. Another
                                          Tablo user, in describing the operation of Tablo’s two-tuner models, states that “after you tune a
                                          channel in and start watching after the buffer, then change to another channel and wait for the
                                          buffer, now both of those channels remain buffered until you switch to a 3rd channel (I’m talking
                                          about a 2 tuner model), then the 1st one drops out of the buffer. The two most recent channels can
                                          now be switched back and forth, although there is still about a 3-5 second lag, but still much faster
                                          than the buffer.” https://community.tablotv.com/t/how-quickly-can-you-change-channels-in-live-
                                          tv/5609/7. TabloTV commented on this thread, stating that “[o]nce you’ve tuned to a channel it
                                          should come back VERY quickly. So if you have both of your ‘tornado stations’ tuned [referring to the
                                          user’s specific interest in changing between weather-related broadcasts], you should be able to flip
                                          back & forth without the extended start-up time that it takes to begin a stream.” Id.

                                          The Tablo Dual 64 GB OTA DVR also allows a user to simultaneously watch two stored programs (or
                                          stored portions of ongoing programs) using “Picture-in-Picture”-like functionality: “Get ‘Picture in
                                          Picture’ – By opening two tabs, view two different channels at once or browse content in one tab
                                          and watch programming in another.” https://www.tablotv.com/blog/tablo-web-app-overview/.




                                                                     5
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 7 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          https://community.tablotv.com/t/picture-in-picture-pip/3062/3.

                                          The ability to swap between programs playing on alternate tuners (or to view multiple programs
                                          simultaneously using the “Picture-in-Picture”-like feature), combined with the ability to pause a
                                          program and to move forward and backward through a program, permits a user to, for example, surf
                                          stored programs, including allowing rapid switching from one channel at a given time to another
                                          channel at a different time. See ’882 patent at 14:40-46.

                                          For example, in response to a question on Amazon.com included under the listing for the Tablo Dual
                                          64 GB OTA DVR, Tablo Support stated on January 11, 2018: “You can stream the same live TV stream
                                          from multiple devices, but these streams are independent. This is so you can pause one, and leave
                                          the other running, etc.” [Question 219 as of Feb. 27, 2018]. While the specific question related to
                                          watching the same television program on two different devices, Tablo Support’s answer indicates
                                          that one stream can be paused while another is left running. Thus, a user could view one stream
                                          (e.g., a television program stored in the buffer corresponding to Tuner 1), while another stream (e.g.,


                                                                     6
                              Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 8 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                              a television program stored in the buffer corresponding to Tuner 2) is paused. The user could then
                                              switch from Tuner 1 to Tuner 2, beginning to view the program on Tuner 2 at the point in the buffer
                                              where the user paused the stream.

 a channel viewer, coupled to said mass       Tablo Dual 64 GB OTA DVR: The Tablo system includes a channel viewer coupled to the mass data
 storage unit, that retrieves a portion of    storage unit that allows a user to retrieve a portion of a television broadcast program based on a
 one of said plurality of stored television   received command and presents the portion of the television broadcast program on a video display
 broadcast programs from said mass data       device.
 storage unit based on a received
 command and presents said portion on         A user may select a stored program from the Tablo Dual 64 GB OTA DVR in various ways. For
 a video display device.                      example, the Tablo Dual 64 GB OTA DVR provides a program guide that allows a user to select a
                                              particular program for display, including programs that are currently being recorded: “To watch live
                                              TV, you can either select the channel identifier on the leftmost side of the screen or select a program
                                              that is currently being broadcast and select the play icon in the information section at the top of the
                                              screen.” https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-
                                              s-.




                                                                         7
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 9 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          https://www.tablotv.com/tv-guide-data-subscriptions/.

                                          As discussed above, a user may switch back and forth between programs that the user has already
                                          selected with an available tuner. The Tablo Dual 64 GB OTA DVR will begin displaying the program
                                          from the previously established buffer. As TabloTV stated in the Tablo support forum: “Once you’ve
                                          tuned to a channel it should come back VERY quickly. So if you have both of your ‘tornado stations’
                                          tuned, you should be able to flip back & forth without the extended start-up time that it takes to
                                          begin a stream.” https://community.tablotv.com/t/how-quickly-can-you-change-channels-in-live-
                                          tv/5609/7.

                                          A user may also select a stored program from the list of previously recorded programs.




                                                                     8
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 10 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          “The Recordings Screen displays all the programs that have been recorded by your Tablo onto the
                                          Hard Drive. Selecting a program will bring up a program pop-up screen with details on the seasons
                                          and episodes that have been recorded.

                                          Recordings are visible in the recordings screen shortly after the recording has started and can be
                                          watched while the recording is in progress.”




                                                                     9
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 11 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          “Selecting the play button next to the episode will launch the video player to play the selected
                                          episode. Selecting the episode, will expand the description to include a synopsis of the episode and a
                                          snapshot of the episode a few minutes into the recording.

                                          Select the play button next to the episode to launch the video player. Select the episode to expand
                                          the description to show a snapshot and more details on that particular episode.”

                                          https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.




                                                                    10
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 12 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


 2. The DVR as recited in claim 1 wherein     Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR stores television broadcast
 said mass data storage unit stores said      programs/channels in a live TV buffer on a first-in-first-out basis. For example, TabloTV, responding
 plurality of channels on a first-in-first-   to a thread in the Tablo support forum, stated that “Tablo only keeps a 1 hour moving window of
 out basis.                                   ‘buffer’ on the hard drive which is discarded when the stream stops so it won’t fill up your hard
                                              drive.” https://community.tablotv.com/t/limiting-live-tv-recording/6240/17.

                                              Moreover, the Tablo Dual 64 GB OTA DVR deletes the oldest unprotected recording as necessary to
                                              make room for new recordings. For example, in describing Tablo’s auto-delete feature, Tablo
                                              Support stated the following on January 29, 2018:

                                              “When enabled, the Tablo's auto delete feature will keep a minimum amount of space free on your
                                              hard drive at all times. This ensures that your hard drive never reaches 100% storage.




                                              This logic works as follows:

                                              The oldest, watched and unprotected recordings will always be deleted first.”
                                              https://support.tablotv.com/hc/en-us/articles/115002651786-How-does-Tablo-s-Auto-delete-
                                              feature-work-.
 5. The DVR as recited in claim 1 wherein     Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR’s program guide comprises a channel
 said channel viewer comprises a channel      guide database that contains pointers to locations in the mass data storage unit.
 guide database containing pointers to
 locations in said mass data storage unit.




                                                                         11
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 13 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          “The Recordings Screen displays all the programs that have been recorded by your Tablo onto the
                                          Hard Drive. Selecting a program will bring up a program pop-up screen with details on the seasons
                                          and episodes that have been recorded.

                                          Recordings are visible in the recordings screen shortly after the recording has started and can be
                                          watched while the recording is in progress.”




                                                                     12
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 14 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                            “Selecting the play button next to the episode will launch the video player to play the selected
                                            episode. Selecting the episode, will expand the description to include a synopsis of the episode and a
                                            snapshot of the episode a few minutes into the recording.

                                            Select the play button next to the episode to launch the video player. Select the episode to expand
                                            the description to show a snapshot and more details on that particular episode.”

                                            https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

 6. The DVR as recited in claim 1 wherein   Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR’s channel viewer displays a channel guide
 said channel viewer displays a channel     on the video display device that provides information regarding content of a plurality of channels,
 guide on said video display device, said   including channels broadcasting programs that are being stored on the DVR.
 channel guide providing information
 regarding a content of said plurality of
 channels.



                                                                      13
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 15 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          “The Live TV screen allows you to watch live TV on your tablet. The screen is divided into two parts.
                                          The bottom part of the screen is a program guide arranged by channel and time. You can scroll up
                                          and down to select a channel and you can scroll left and right to select a time. Selecting a program
                                          will bring up program cover art and more information on the program in the top section of the
                                          display. Selecting the INFO icon will return more information on the program. Selecting the REC icon
                                          will record the program that is selected in the guide. . . .

                                          To watch live TV, you can either select the channel identifier on the leftmost side of the screen or
                                          select a program that is currently being broadcast and select the play icon in the information section
                                          at the top of the screen. . . .




                                                                     14
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 16 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                             When a channel is being watched by another user on a different device, or when a recording is in
                                             progress on a channel, the channel indicator will pulse red. For a two-tuner unit, if both channels are
                                             in use, any attempt to play a different channel will result in an error ‘No Tuners Available’.”

                                             https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.
 7. The DVR as recited in claim 6 wherein    Tablo Dual 64 GB OTA DVR: As illustrated in the image below, the Tablo Dual 64 GB OTA DVR’s
 said channel guide contains links to        channel viewer comprises a channel guide that contains links to locations in the mass data storage
 locations in said mass data storage unit.   unit.




                                             “The Recordings Screen displays all the programs that have been recorded by your Tablo onto the
                                             Hard Drive. Selecting a program will bring up a program pop-up screen with details on the seasons
                                             and episodes that have been recorded.




                                                                        15
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 17 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                            Recordings are visible in the recordings screen shortly after the recording has started and can be
                                            watched while the recording is in progress.”




                                            “Selecting the play button next to the episode will launch the video player to play the selected
                                            episode. Selecting the episode, will expand the description to include a synopsis of the episode and a
                                            snapshot of the episode a few minutes into the recording.

                                            Select the play button next to the episode to launch the video player. Select the episode to expand
                                            the description to show a snapshot and more details on that particular episode.”

                                            https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

 8. The DVR as recited in claim 1 further   Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR works with pointing devices (e.g., touch
 comprising a pointing device,              screens) cooperable with the channel viewer to allow the user to issue commands, including a
 cooperable with said channel viewer,       command to display a particular program from the mass data storage unit: “The Live TV screen



                                                                       16
                              Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 18 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


 that allows a user to issue said               allows you to watch live TV on your tablet. The screen is divided into two parts. The bottom part of
 command.                                       the screen is a program guide arranged by channel and time. You can scroll up and down to select a
                                                channel and you can scroll left and right to select a time. Selecting a program will bring up program
                                                cover art and more information on the program in the top section of the display. Selecting the INFO
                                                icon will return more information on the program. Selecting the REC icon will record the program
                                                that is selected in the guide.” https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-
                                                Using-the-Tablo-App-s-.
 9. The DVR as recited in claim 1 wherein       Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR’s channel viewer can present a portion of
 said channel viewer presents said              a television program nonlinearly. For example, the Tablo Dual 64 GB OTA DVR’s video player controls
 portion nonlinearly.                           allow the user to skip forward by 30 seconds.

                                                “The video player controls the playback of the video you have selected to watch. It contains several
                                                controls to manage playback.”




                                                https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

 10. The DVR as recited in claim                Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR stores uncompressed over-the-air digital
 1 wherein said mass data storage unit          television signals, compresses them according to the H.264 video compression standard, and stores
 receives, digitally compresses and             the compressed signals in memory.
 digitally stores said plurality of channels.
                                                https://www.tablotv.com/products/tablo-dual-ota-dvr/; https://support.tablotv.com/hc/en-
                                                us/articles/201445376-In-what-format-does-Tablo-save-the-video-audio-stream-to-the-hard-drive-.
 12. The DVR as recited in claim 1 further      Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR includes an archive storage, coupled to
 comprising an archive storage unit,            the channel viewer, that stores programs selected by the user:
 coupled to said channel viewer, that
 stores said portion.                           “The Live TV screen allows you to watch live TV on your tablet. The screen is divided into two parts.
                                                The bottom part of the screen is a program guide arranged by channel and time. You can scroll up
                                                and down to select a channel and you can scroll left and right to select a time. Selecting a program


                                                                           17
                              Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 19 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                               will bring up program cover art and more information on the program in the top section of the
                                               display. Selecting the INFO icon will return more information on the program. Selecting the REC icon
                                               will record the program that is selected in the guide.”

                                               https://support.tablotv.com/hc/en-us/articles/201749027.
 13. The DVR as recited in claim 1 further     Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR includes a channel selector, coupled to
 comprising a channel selector, coupled        the mass data storage unit, that allows a user to identify a plurality of channels/television broadcast
 to said mass data storage unit, that          programs.
 allows a user to identify said plurality of
 channels.




                                               “The Live TV screen allows you to watch live TV on your tablet. The screen is divided into two parts.
                                               The bottom part of the screen is a program guide arranged by channel and time. You can scroll up
                                               and down to select a channel and you can scroll left and right to select a time. Selecting a program
                                               will bring up program cover art and more information on the program in the top section of the
                                               display. Selecting the INFO icon will return more information on the program. Selecting the REC icon
                                               will record the program that is selected in the guide. . . .




                                                                          18
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 20 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                            To watch live TV, you can either select the channel identifier on the leftmost side of the screen or
                                            select a program that is currently being broadcast and select the play icon in the information section
                                            at the top of the screen. . . .

                                            When a channel is being watched by another user on a different device, or when a recording is in
                                            progress on a channel, the channel indicator will pulse red. For a two-tuner unit, if both channels are
                                            in use, any attempt to play a different channel will result in an error ‘No Tuners Available’.”

                                            https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

                                            In particular, since the Tablo Dual 64 GB OTA DVR includes two tuners, the user can identify (and
                                            tune to) a plurality of channels/programs to store concurrently. For example, as TabloTV stated in
                                            the Tablo support forum: “Once you’ve tuned to a channel it should come back VERY quickly. So if
                                            you have both of your ‘tornado stations’ tuned, you should be able to flip back & forth without the
                                            extended start-up time that it takes to begin a stream.” Id.

 16. The DVR as recited in claim            Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR receives a plurality of channels/television
 1 wherein said plurality of channels are   broadcast programs that are formatted in, for example, digital HDTV: “The Tablo DUAL Over-The-Air
 formatted in a selected one of:            DVR makes it even easier for cord cutters to stream and record live TV right out of the box. With two
 NTSC analog TV,                            tuners and 64GB onboard storage, you can record and stream up to two free broadcast channels
 PAL/SECAM analog TV,                       from your HDTV antenna without the need for an external hard drive.”
 digital TV,                                https://www.tablotv.com/products/tablo-dual-ota-dvr/.
 analog HDTV, and
 digital HDTV.

 17. The DVR as recited in claim            Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR allows a user to submit a command
 1 wherein said DVR selectively moves by    prompting the Tablo to move forward in a program by one commercial time unit (e.g., 30 seconds).
 one commercial time unit within said
 one of said plurality of channels in
 response to a second received              “The video player controls the playback of the video you have selected to watch. It contains several
 command.                                   controls to manage playback.”




                                                                       19
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 21 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                            https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

 18. The DVR as recited in claim            Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR’s skip-forward command is employable
 17 wherein said received command is        to achieve catch-up viewing. For example, a Tablo user, in answering a question included in the
 employable to achieve catch-up viewing.    Amazon listing for the Tablo Dual 64 GB OTA DVR, indicated that the Tablo allows a user to “start
                                            recording my nightly news and while recording, start watching the news that is being recorded on my
                                            roku and ff thru commercials.” [Question 232 as of Feb. 27, 2018].


 19. A method of operating a digital        Tablo Dual 64 GB OTA DVR: “A network-connected DVR, Tablo is a whole-home-DVR and placeshifter
 video recorder, comprising the steps of:   combined that uses WiFi or Ethernet to stream live and recorded HDTV content to Tablo apps on all
                                            the connected devices inside your home or anywhere you have high-speed internet.”
                                            https://www.tablotv.com/products/tablo-dual-ota-dvr/.
 receiving a plurality of television        Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR includes a mass data storage unit that
 broadcasts, each television broadcast      concurrently and continuously receives and digitally stores a plurality of television broadcast
 including a video signal; and              programs.

                                            The Tablo Dual 64 GB OTA DVR includes “64GB of onboard storage gives cord cutters 40 hours of HD
                                            recording storage, right out of the box.” https://www.tablotv.com/products/tablo-dual-ota-dvr/.

                                            The Tablo receives digital OTA television signals:




                                                                       20
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 22 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                            https://www.tablotv.com/products/tablo-dual-ota-dvr/

                                            “Most of your favorite network TV shows and prime time sports are broadcast live for FREE to
                                            anyone who can receive a signal through a digital TV antenna. Want to know which TV shows are
                                            broadcast Over-The-Air (OTA) during prime time in your area? Let’s find out!”

                                            https://www.tablotv.com/tools/.

 concurrently and continuously digitally    The Tablo Dual 64 GB OTA DVR digitally stores recorded programs: “Video Format: H.264 (HLS: HTTP
 storing said plurality of television       Live Streaming).” https://www.tablotv.com/tools/. See also https://support.tablotv.com/hc/en-
 broadcasts on a mass data storage unit     us/articles/201445386-What-compression-audio-video-codes-does-Tablo-use- (Tablo Support: “We
 and storing said plurality of television   transcode ATSC MPEG 2 to H.264. The Tablo currently transcodes the AC3 to two channel AAC.”).
 broadcasts together with time
 information to allow said plurality of     The Tablo Dual 64 GB OTA DVR also concurrently and continuously receives and digitally stores a
 stored television broadcasts to be         plurality of television broadcast programs: “Concurrent Streams: Watch and record up to two shows
 synchronized with respect to one           simultaneously.” https://www.tablotv.com/products/tablo-dual-ota-dvr/.
 another upon replay of said stored
 television broadcasts.                     The Tablo Dual 64 GB OTA DVR also receives and digitally stores time information relating to
                                            television broadcast programs. This is evidenced by, for example, the fact that the Tablo system
                                            displays a program guide containing information regarding the start and end times of programs.




                                                                      21
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 23 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          https://www.tablotv.com/tv-guide-data-subscriptions/

                                          This is also evidenced, for example, by the Tablo system’s ability to display an on-screen timer for a
                                          program stored or being stored on the Tablo Dual 64 GB OTA DVR that illustrates (among other
                                          things) the user’s current point in a program: “Scroll to any point in the recording – The scrubber bar
                                          lets you zoom through commercials or to a specific point in the show.”
                                          https://www.tablotv.com/blog/tablo-web-app-overview/.

                                          The digital storage of television broadcast programs and time information by the Tablo Dual 64 GB
                                          OTA DVR allows the stored television broadcast programs to be synchronized with respect to one
                                          another.

                                          When a user tunes to a particular television channel, the Tablo Dual 64 GB OTA DVR begins a live TV
                                          buffer. In responding to a question on Amazon.com included in the listing for the Tablo Dual 64 GB


                                                                     22
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 24 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          OTA DVR, TabloTV stated on December 22, 2014, “We do record the live TV channel you’re currently
                                          watching in the background so that we can enable the pause and rewind functions for live TV.”

                                          The live TV buffer digitally stores up to 60 minutes of content in a first-in/first-out manner. For
                                          example, Tablo TV, responding to a thread in the Tablo support forum, stated that “Tablo only keeps
                                          a 1 hour moving window of ‘buffer’ on the hard drive which is discarded when the stream stops so it
                                          won’t fill up your hard drive.” https://community.tablotv.com/t/limiting-live-tv-recording/6240/17.

                                          The buffer continues so long as the tuner is tuned to that particular channel, even if the user stops
                                          viewing that channel. For example, Tablo’s website states, “For playback of live TV, Tablo has a
                                          feature that continues recording on the channel for an hour after the user has stopped watching the
                                          channel. This is so the user can re-join the channel and watch live TV without waiting 12 seconds for
                                          playback to start.” https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-
                                          Tablo-App-s-. A Tablo user described such functionality in the Tablo support forum: “I just tuned in a
                                          Live TV channel, and watch (sic) for a minute. Then exited viewing that channel, which brought me to
                                          the guide display. Waited 14 minutes. Went back to the original Live TV channel, and had 14 minutes
                                          I could view.” https://community.tablotv.com/t/limiting-live-tv-recording/6240/17.

                                          The Tablo Dual 64 GB OTA DVR permits a user to pause live TV, as well as to rewind and fast-forward
                                          through stored programs. For example, in response to a question posted in the Tablo Support forum
                                          asking whether Tablo enables the user to pause live TV, Tablo Support stated, “Yes, you can pause
                                          live and recorded TV with Tablo. You can also rewind and (if you’re rewound) fast forward through
                                          live TV.” https://support.tablotv.com/hc/en-us/articles/201445306-Does-Tablo-enable-you-to-
                                          pause-live-TV-

                                          The Tablo Dual 64 GB OTA DVR’s dual tuners permit a user to tune into two concurrently stored
                                          television programs. https://www.tablotv.com/blog/tablo-tuner-math/. This allows a user to watch
                                          two concurrently stored programs (or stored portions of ongoing programs) by changing between
                                          active streams.

                                          Users of the Tablo Dual 64 GB OTA DVR describe swapping back and forth between stored programs,
                                          including programs stored in the live TV buffer. For example, one Tablo user describes “Playing Live
                                          TV on my phone or tablet works as expected. I can pause jump back in (sic) forth within the buffer,
                                          change channels, then move within the buffer after changing the channel.”



                                                                    23
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 25 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          https://community.tablotv.com/t/android-app-and-casting-from-android-app/2383/8. Another
                                          Tablo user, in describing the operation of Tablo’s two-tuner models, states that “after you tune a
                                          channel in and start watching after the buffer, then change to another channel and wait for the
                                          buffer, now both of those channels remain buffered until you switch to a 3rd channel (I’m talking
                                          about a 2 tuner model), then the 1st one drops out of the buffer. The two most recent channels can
                                          now be switched back and forth, although there is still about a 3-5 second lag, but still much faster
                                          than the buffer.” https://community.tablotv.com/t/how-quickly-can-you-change-channels-in-live-
                                          tv/5609/7. TabloTV commented on this thread, stating that “[o]nce you’ve tuned to a channel it
                                          should come back VERY quickly. So if you have both of your ‘tornado stations’ tuned [referring to the
                                          user’s specific interest in changing between weather-related broadcasts], you should be able to flip
                                          back & forth without the extended start-up time that it takes to begin a stream.” Id.

                                          The Tablo Dual 64 GB OTA DVR also allows a user to simultaneously watch two stored programs (or
                                          stored portions of ongoing programs) using “Picture-in-Picture”-like functionality: “Get ‘Picture in
                                          Picture’ – By opening two tabs, view two different channels at once or browse content in one tab
                                          and watch programming in another.” https://www.tablotv.com/blog/tablo-web-app-overview/.




                                                                    24
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 26 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          https://community.tablotv.com/t/picture-in-picture-pip/3062/3.

                                          The ability to swap between programs playing on alternate tuners (or to view multiple programs
                                          simultaneously using the “Picture-in-Picture”-like feature), combined with the ability to pause a
                                          program and to move forward and backward through a program, permits a user to, for example, surf
                                          stored programs, including allowing rapid switching from one channel at a given time to another
                                          channel at a different time. See ’882 patent at 14:40-46.

                                          For example, in response to a question on Amazon.com included under the listing for the Tablo Dual
                                          64 GB OTA DVR, Tablo Support stated on January 11, 2018: “You can stream the same live TV stream
                                          from multiple devices, but these streams are independent. This is so you can pause one, and leave
                                          the other running, etc.” [Question 219 as of Feb. 27, 2018]. While the specific question related to
                                          watching the same television program on two different devices, Tablo Support’s answer indicates
                                          that one stream can be paused while another is left running. Thus, a user could view one stream
                                          (e.g., a television program stored in the buffer corresponding to Tuner 1), while another stream (e.g.,


                                                                     25
                            Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 27 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                           a television program stored in the buffer corresponding to Tuner 2) is paused. The user could then
                                           switch from Tuner 1 to Tuner 2, beginning to view the program on Tuner 2 at the point in the buffer
                                           where the user paused the stream.
 20. The method as recited in claim        Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR creates pointers to locations in the mass
 19 further comprising creating pointers   data storage unit in a channel guide database.
 to locations in said mass data storage
 unit in a channel guide database.




                                           “The Recordings Screen displays all the programs that have been recorded by your Tablo onto the
                                           Hard Drive. Selecting a program will bring up a program pop-up screen with details on the seasons
                                           and episodes that have been recorded.

                                           Recordings are visible in the recordings screen shortly after the recording has started and can be
                                           watched while the recording is in progress.”




                                                                      26
                              Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 28 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                             “Selecting the play button next to the episode will launch the video player to play the selected
                                             episode. Selecting the episode, will expand the description to include a synopsis of the episode and a
                                             snapshot of the episode a few minutes into the recording.

                                             Select the play button next to the episode to launch the video player. Select the episode to expand
                                             the description to show a snapshot and more details on that particular episode.”

                                             https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.
 21. The method as recited in claim          Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR displays a channel guide on the video
 19 further comprising the step of           display device that provides information regarding content of a plurality of channels, including
 displaying a channel guide on a video       channels broadcasting programs that are being stored on the DVR.
 display device, said channel guide
 providing information regarding a
 content of at least one of said plurality
 of channels.



                                                                       27
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 29 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882




                                          “The Live TV screen allows you to watch live TV on your tablet. The screen is divided into two parts.
                                          The bottom part of the screen is a program guide arranged by channel and time. You can scroll up
                                          and down to select a channel and you can scroll left and right to select a time. Selecting a program
                                          will bring up program cover art and more information on the program in the top section of the
                                          display. Selecting the INFO icon will return more information on the program. Selecting the REC icon
                                          will record the program that is selected in the guide. . . .

                                          To watch live TV, you can either select the channel identifier on the leftmost side of the screen or
                                          select a program that is currently being broadcast and select the play icon in the information section
                                          at the top of the screen. . . .




                                                                     28
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 30 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          When a channel is being watched by another user on a different device, or when a recording is in
                                          progress on a channel, the channel indicator will pulse red. For a two-tuner unit, if both channels are
                                          in use, any attempt to play a different channel will result in an error ‘No Tuners Available’.”

                                          https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.
 22. The method as recited in claim       Tablo Dual 64 GB OTA DVR: As illustrated in the image below, the Tablo Dual 64 GB OTA DVR’s
 21 wherein said channel guide contains   channel guide contains links to locations in the mass data storage unit.
 links to locations in said mass data
 storage unit.




                                          “The Recordings Screen displays all the programs that have been recorded by your Tablo onto the
                                          Hard Drive. Selecting a program will bring up a program pop-up screen with details on the seasons
                                          and episodes that have been recorded.




                                                                     29
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 31 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          Recordings are visible in the recordings screen shortly after the recording has started and can be
                                          watched while the recording is in progress.”




                                          “Selecting the play button next to the episode will launch the video player to play the selected
                                          episode. Selecting the episode, will expand the description to include a synopsis of the episode and a
                                          snapshot of the episode a few minutes into the recording.

                                          Select the play button next to the episode to launch the video player. Select the episode to expand
                                          the description to show a snapshot and more details on that particular episode.”

                                          https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.
 23. The method as recited in claim       Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR receives a command to replay one of the
 19 further comprising the step of        stored television broadcasts.
 receiving a command to replay one of
 said stored television broadcasts.



                                                                     30
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 32 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          A user may select a stored program from the Tablo Dual 64 GB OTA DVR in various ways. For
                                          example, the Tablo Dual 64 GB OTA DVR provides a program guide that allows a user to select a
                                          particular program for display, including programs that are currently being recorded: “To watch live
                                          TV, you can either select the channel identifier on the leftmost side of the screen or select a program
                                          that is currently being broadcast and select the play icon in the information section at the top of the
                                          screen.” https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-
                                          s-.




                                          https://www.tablotv.com/tv-guide-data-subscriptions/.

                                          As discussed above, a user may switch back and forth between programs that the user has already
                                          selected with an available tuner. The Tablo Dual 64 GB OTA DVR will begin displaying the program
                                          from the previously established buffer. As TabloTV stated in the Tablo support forum: “Once you’ve



                                                                     31
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 33 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          tuned to a channel it should come back VERY quickly. So if you have both of your ‘tornado stations’
                                          tuned, you should be able to flip back & forth without the extended start-up time that it takes to
                                          begin a stream.” https://community.tablotv.com/t/how-quickly-can-you-change-channels-in-live-
                                          tv/5609/7.

                                          The Tablo Dual 64 GB OTA DVR can also receive a command to play a previously recorded program.




                                          “The Recordings Screen displays all the programs that have been recorded by your Tablo onto the
                                          Hard Drive. Selecting a program will bring up a program pop-up screen with details on the seasons
                                          and episodes that have been recorded.




                                                                    32
                           Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 34 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                          Recordings are visible in the recordings screen shortly after the recording has started and can be
                                          watched while the recording is in progress.”




                                          “Selecting the play button next to the episode will launch the video player to play the selected
                                          episode. Selecting the episode, will expand the description to include a synopsis of the episode and a
                                          snapshot of the episode a few minutes into the recording.




                                                                     33
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 35 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


                                              Select the play button next to the episode to launch the video player. Select the episode to expand
                                              the description to show a snapshot and more details on that particular episode.”

                                              https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.
 24. The method as recited in claim           Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR’s channel viewer can display a stored
 23 wherein said one of said stored           television broadcast nonlinearly. For example, the Tablo Dual 64 GB OTA DVR’s video player controls
 television broadcasts is displayed           allow the user to skip forward by 30 seconds.
 nonlinearly.
                                              “The video player controls the playback of the video you have selected to watch. It contains several
                                              controls to manage playback.”




                                              https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

 25. The method as recited in claim           Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR stores uncompressed over-the-air digital
 19 wherein said step of concurrently         television signals comprising a plurality of television broadcasts/channels, compresses them
 and continuously digitally storing           according to the H.264 video compression standard, and stores the compressed signals in memory.
 comprises the step of receiving, digitally
 compressing and digitally storing said       https://www.tablotv.com/products/tablo-dual-ota-dvr/; https://support.tablotv.com/hc/en-
 plurality of channels.                       us/articles/201445376-In-what-format-does-Tablo-save-the-video-audio-stream-to-the-hard-drive-.
 28. The method as recited in claim           Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR allows the user to identify a plurality of
 19 further comprising the step of            television broadcasts in a channel selector: “Live TV – This screen displays a grid guide that shows
 allowing a user to identify said plurality   what’s playing on each channel for the next 24 hours. Selecting a channel will start playback of live
 of television broadcasts in a channel        TV for that channel. Selecting a program in the guide will allow you to get more information on the
 selector.                                    program and to select it for recording.” https://support.tablotv.com/hc/en-us/articles/201749027-
                                              Chapter-5-Using-the-Tablo-App-s-

 31. The method as recited in claim           Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR decodes a plurality of channels/television
 19 further comprising the step of            broadcast programs that are formatted in, for example, digital HDTV: “The Tablo DUAL Over-The-Air


                                                                        34
                             Case 1:18-cv-02131-SCJ Document 1-2 Filed 05/14/18 Page 36 of 36
Preliminary Comparison of Tablo’s Dual 64 GB OTA DVR with U.S. Patent No. 6,788,882


 decoding said plurality of television    DVR makes it even easier for cord cutters to stream and record live TV right out of the box. With two
 broadcasts from a selected one of:       tuners and 64GB onboard storage, you can record and stream up to two free broadcast channels
 NTSC analog TV,                          from your HDTV antenna without the need for an external hard drive.”
 PAL/SECAM analog TV,                     https://www.tablotv.com/products/tablo-dual-ota-dvr/.
 digital TV,
 analog HDTV, and
 digital HDTV.

 32. The method as recited in claim       Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR can receive a command from a user to
 19 further comprising the step of        selectively move forward in a program by one commercial time unit (e.g., 30 seconds).
 selectively moving by one commercial
 time unit within said one of said        “The video player controls the playback of the video you have selected to watch. It contains several
 plurality of television broadcasts in    controls to manage playback.”
 response to a received command.




                                          https://support.tablotv.com/hc/en-us/articles/201749027-Chapter-5-Using-the-Tablo-App-s-.

 33. The method as recited in claim       Tablo Dual 64 GB OTA DVR: The Tablo Dual 64 GB OTA DVR’s skip-forward command is employable
 32 wherein said step of selectively      to achieve catch-up viewing. For example, a Tablo user, in answering a question included in the
 moving comprises the step of engaging    Amazon listing for the Tablo Dual 64 GB OTA DVR, indicated that the Tablo allows a user to “start
 in catch-up viewing.                     recording my nightly news and while recording, start watching the news that is being recorded on my
                                          roku and ff thru commercials.” [Question 232 as of Feb. 27, 2018].




                                                                    35
